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                                                                                Dis    fCT    u
Sean Julander
(Pro Per) Plaintiff
358 North 200 East
Richfield, Utah 84701
Telephone: 435-705-5054
Email: fil!IB_qgi_QIQ_l;mt@gmqil.qQm

           UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                             CENTRAL DIVISION


 SEAN JULANDER,                                    MOTION TO OBJECT TO DEFENDANT'S
                                                         (MOTION TO DISMISS)
                     Plaintiff,

                                                         Civil No. 2:17-cv-01315-DB-DBP
     vs.

 MARVIN BAGLEY, in his official capacity                        Judge Dee Benson
 as Judge, 6t11 District Sevier Co. Utah, & in            Magistrate Judge Dustin B. Pead
 his individual capacity.

                    Defendant,


                                             MOTION

Plaintiff objects to Defendants Motion for Dismissal. Plaintiff is pursuant to Civil Rights Act of

1871, one of the most widely used Federal civil rights laws. Usually referred to as Section 1983,

this law permits suits for damages or injooctive relief against those who, "under color of state

law" violate an individual's civil rights.

Plaintiff claims for any equitable relief, to the extent that the harms/damages caused by no relief

from the injunction resulted in the violation of Sean Julander's(& his Children's) Civil Rights,
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they still exist, are not barred, as this law permits suits for damages or injunctive relief against

those who, "under color of state law" violate an individual's civil rights:

                                        Because they are not moot;

By the Civil Rights Act of 1871 or "the Section 1983" &

By Answering a constitutional question, that the Supreme Court denies immunity. Judge Marvin

Bagley and the State of Utah does not have immunity to being sued in federal court on claims

related to misconduct that did not involve official acts, because the claimed "official acts" aka

"Custody Orders"/Custody Orders/[Custody Orders][pick two or pick them all] because the

claimed "official acts" are based on and are Fraudulent or illegal or unlawful or not within the

scope of the law or un orderable or unconstitutional or one-sided[WOW I am not even fishing I

am writing a truth motion]. &;

18 U.S. Code§ 1621 - Perjury (2) (in part states that) ... This section is applicable whether the

statement or subscription is made within or without the United States.



                                 Not By the Younger abstention doctrine;

        ""Younger abstention could be applied to "noncriminal judicial proceedings." Based on

        the factors discussed in Middlesex, the Eighth Circuit stated that Younger abstention is

        required when: "

        "(l) there is an ongoing state judicial proceeding, which

        (2) implicates important state interests, and

        (3) the state proceedings provide an adequate opportunity to raise constitutional

        challenges."
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       "The Eighth Circuit found that Sprint's suit in Iowa state court met each of the Middlesex

        factors, citing Iowa's interest in establishing and implementing its intrastate utility

        rates.""

Plaintiff states, Yes, there is an ongoing state judicial proceeding, at least partially, and this

ongoing proceeding will in fact be affected by the unlawful injw1ctio11 or illegal injtmction &

already unconstitutional injunction caused by the Temporary Custody Orders that were ordered

by the state of Utah or Judge Marvin Bagley, Order Signed on January 11, 2017. The Order has

harmed not only the Plaintiff or Plaintiffs Children as well. This case involves children and the

Plaintiff a.k.a.( the people of the Constitutional Republic of the United States of America), which

in turn brings up the 10th Bill of Right. The plaintiffs 10th Bill of right is just as good as the state

of Utah's 10th Bill of Right, especially when the State of Utah has trespassed without reasonable

cause, the plaintiffs at the very least the 14th amendment, possibly the fourth, I believe the the

fift:h(punishment(punishment being unreasonable without cause clearly) punishment is not

limited to a non-civil case, [think that over a little bit]), we will just call it the 14tl1, and the

plaintiff seeks that the federal courts should not abstain from deciding a case that involves

"exceptional" matters. The "exceptional" matters in this case are Two Children, the said Plaintiff

and the (Your) Constitution itself; clearly, concisely and directly, this case is not about

"establishing and implementing some intrastate utility rates", that somewhat takes care of

eliminating part (1) of this attempt to dismissal based on "Younger".

Plaintiff is not sure how the State of Utah would have been wrongly implicated, if its judgement

would have been enforced based on Federal & Utah Statues already stated for Fit-Parents, how

would that "implicate important state interests", it would have not implicated satate interests, the

Plaintiff or "the Petitioner in the Divorce Case Paid the State of Utah nearly $400.00 to hear the
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Case, not only did the State of Utah benefit, it has also made money by way of taxes Petitioner

and Respondant have paid money to Lawyers, and those Lawyers have bought Goods or Services

in the State of Utah and those Goods or Services were Taxed by the State of Utah, so Plaintiff

states implications of the State of Utah has been to benefit, from this case, [1mtil the state of Utah

harmed people] by way of injunction. The plaintiff doesn't care if economy Federalist this is the

Constitutional Republic of the United States of America, and the Constitution was wrote &

Supersedes, way before Utah ever began to think it was even a state. The State of Utah is being

Sued after injuring or harming or damaging Three People by a Person, the said Plaintiff.

"In Younger, the Supreme Court held that except in limited circumstances involving immediate

irreparable injury," caused by the injunction caused by the Judgement of the Temporary Custody

Orders, this judgment being absolutely and obviously without a Judgement concerned with

equality of judgment itself, and not concerned with all of the facts, presented during the Hearing.

So who's 10th amendment is better? Whoever is right, based on facts, actual facts, real-life facts,

things that actually happened like pe1jury not only on adultery, but on how-much-time the

plaintiff was "spending"/being-with or [supposedly not] being-with their children. And the

plaintiff believes that takes care of number (2) Younger abstention doctrine, of the so-called

defense of the Defendant.

Nun1ber (3) of the the Younger abstention doctrine, is that "the state proceedings provide[d]

an adequate opportunity to raise constitutional challenges." The word "provides" & "adequate"

opportunity to raise, the Plaintiff actually Provided the State of Utah to not only "provide the

opportunity to raise but the opportunity to enforce constitutional wrongs/[challenges] made by

the State of Utah. The Plaintiff provided these opportunities to the State of Utah, pursmmt to

right the wrongs, said plaintiff Filed Motions; "the opportm1ity" [well] the plaintiff did raise &
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invoked His And His Childrens Constitutional Rights To Be Enforce based on Common Sense or

the law or the legal basies of the constitutional challenge. The plaintiff gave the state of Utah

plenty of time, to right the wrongs, and plenty of occasions to right the wrongs. I never rest my

case the state of Utah still refuses to accept its responsibility to the people of the constitutional

Republic of the United States of America and Americans. "And Utah can't take that away" [or as

my dad once said "grow up", whatever that means]. They really appears like Utah is in the

wrong and that should/Must have responsibility to the people, and their people, and the people of

the Real Government or [Federal] /or /Federal Government, and the plaintiff will not be

subverted, especially by fraud, lies trespass and invasion. And the plaintiff believes that partially

takes care of number (3) Younger abstention doctrine, of the so-called defense of the

Defendant. Number (3) is cover below as well, with logic and reason.

                                 Not By the Younger abstention doctrine;

By 4 Objections by Sean Julander to the "temporary" Custody Order filed to rthe State of Utah &

state proceedings to provide an adequate opportunity for the State of Utah I Defendant

opportm1ity to raise constitutional challenges & to provide an adequate opportunity for the State

of Utah I Defendant to Enforce the Law. And to Enforce the 14th Amendment to Sean Julander

and His Children.

By there is no "Time-Machines" yet invented Act by using Reasonable Common Sense Act. &

By the "How is Sean Julander supposed [not] file a Complaint with the Federal Court" and also

wait "to legally comply with the "Younger abstention doctrine" (for the State of Utah Court/s to

keep violating Sean Julander's Rights and/in-addition) wait longer than the Federal Lawis Statute

of Limitations. Sean Julander cannot fulfill both the Federal law and the "Younger abstention

doctrine".
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And the Federal Law supersedes the State of Utah's Laws.

Especially when the People aka the Person Sean Julander stands and invokes his Bill of Rights

etc. and agrees with the Federal Law and not the State of Utah doctrine.

                               Not By the Younger abstention doctrine;

By The Younger abstention doctrine cannot provide Sean Julander's (&his Children's) a "Time-

Machine" to allow all of us to go back in time, to Right/Correct the Violations against Sean

Julander's (&his Children's) Civil Rights. The violations against Sean Julander were the result

and caused by the State of Utah or the   6th   District Court of Utah or by Marvin Bagley or all three

through the issuance of the "Temporary" Child & Parent Custody Orders.[thus the" or" without

a comma].

       Also, regarding the "Not By the Younger abstention doctrine;"

By Sean Julander sought & pursued & filed & Motioned & Compelled by 4 separate

compelling/s/occasions/"times" 3 by Motions to Correct the injunction, and 1 time by Verbal at a

Status Headng and All 4 were within 1 Year and the first Motion filed to compel & Objected to

the Temp. Orders were within 14 days of Scott Charlier Withdraw from Sean Julander "getting

out of Sean Julander's way". [Is that part of the reason why Sean Julander does not have a

Lawyer helping him on this case, or is it because he cannot pay a Lawyer enough money to win

this case]

                             Not By the F'ederal Courts Improvement Act.

                                         By Executive O:rde:r 12988

By Sean Julander filed 4 motions and 2 of those Motions included as the Title (part of the title in

the 2 Motions were" Kxecutive Order 12988") of the Motions and the Motions were Pursuant to

to the entirety of E.O. 12988: "Executive O.rder 12988" of February 5, 1996 Civil Justice
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Refonn; Basically states Executive O:rde:r 12988 Section 1 (a) "(a) Pre-filing Notice of a

Complaint. No litigation counsel shall file a complaint initiating civil litigation without first

making a reasonable effort to notify all disputants about the nature of the dispute and to attempt

to achieve a settlement ... ".

Executive O:rder 12988 Section l(c) (1) "(l) Whenever feasible, claims should be resolved

through informal discussions, negotiations, and settlements rather than through utilization of any

fom1al court proceeding. . .. ".

See https://www.gpo.gov/fdsys/pkg/FR-1996-02-07/pdf/96-27 55.pdf

                          Plaintiffs' claims a.re dam.ages a:re Not ba:r:red

[Repeat] By the Civil Rights Act of 1871 or "the Section 1983" & this law permits suits for

damages or injunctive relief against those who, "under color of state law" violate an individual's

civil rights.

To the extent, the Federal Court can Issue Punitive Damages that fit, fitting is up to and

including (10% of the max.) of up to the maximum of 3 million USD to Sean Julander for the

injunctions by the State of Utah. Punitive Damages for the relief, for the Time that Sean and His

Children can never get back, for the State of Utah not solving the injunctions or Negligence.

These "one-sided" Custody to only One Parent & the Children being unconstitutionally not

allowed by Order to have Custody of the other Parent (aka the Children can have Custody of

"every-Other WeeK-END"; of the [Usually the Father or] "other "left-out" Parent".

This [One-Sided Custody is "Weak-End" B.S.] 'Emphasis' this Needs To Stop! STOP &/or

PLEASE STOP doing this to the Children & the Parent(/s)! AND YES Anyone injunctions &/or

harms against Anyone, Needs to Stop and Yes, the Plaintiff seeks relief to the injunctions &

damages, and is pursuant to 42 U.S.C. § 1983 or other Federal law/s.
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Although Plaintiff does not seek damages by the doctrine of judicial immunity; and Yes, to the

extent of stopping this from happening in "A Constitutional Republic if you can keep it." A

Constitutional Republic, which means the Majority or the particularly anyone does not ever

"win", when anyone or two or three or whatever people/persons' are Correct, Truthful, Right,

Factual, Actual, Real, Constitutional. And this Complaint is not one of those "fake Complaints"

without reason or unreasonable Complaints (which actually abuses the Constitution/Bill of

Rights) some people have [bs] claims that other people have claimed tl1at are ridiculously

claimed and do not have reasonable weight to claim the 1983. Although this Complaint does

reasonable weight to claim the 1983; And this Complaint is with importance, and is Factual. To

the extent Plaintiff seeks damages for negligence or injunctions or harm or time that Sean

Julander's Children can never get back, and Yes Sean Julander wants these injunctions to Stop,

but not by the Governmental Immunity Act of Utah, but By the Bill of Rights of Sean Julander

And His Children and They are Also Keshia's Children and Sean Julander is the Only one who

gets this Fact and Seeks to Enforce the Law, Call Sean Law Enforcement but he is not Employed

by the "Law Enforcement Places", it seems like without the Punitive Damages Sean Julander

seeks, and it is clear whether Mr. Julander seeks equitable relief in the form of Pmtltive

(Damages). Sean Julander is doing this for My Children & Sean Julander, and for the law

needing to be enforced with equality. Sean Julander cannot be held responsible for persons

/people's misconduct.

     By Appeal as to not Waste more Court Time and Waste More Appeals Court Time

This Court should be allowed to not only award Relief to the Plaintiff in the form Punitive

(Damages), but should be allowed to Reverse the Custody Orders, because the "Temporary"

Orders will affect the Final Orders that are scheduled for April 21st 2018, and if not Sean
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Julander will seek Appeal to Reverse the Custody Orders in Appeals Court. And Sean Julander

did state that in the First Complaint to be as instmment as Evidence so the Appeal will not be set

back or "Un-Appealable" for Statute of Time Limitations or [for not having a Lawyer help Sean

Julander].

These Custody Orders have & still are damaging/harming said Plaintif and Plaintif s My

Children in such negative way that it has in fact affected not only my Children, and me, i.t has

affected all Sean Julander's "surrounding" Family. [Family is bases of Society, and Sean

Julander wishes he could have been a better "Married Person/Guy/Whatever to Keshia" but

Keshia Petitioned for Divorce not Sean.] And the State of Utah made itsjudgemtns and Custody

Order without concern of the 14th Amendment Right/s of Plaintiff I Plaintiffs Children, and this

Sean will always Care about his Family from his Children to sharing his Children with the

Children's other Parent/ Keshia. Sean has the Right, invoked & wants/ed to be an active Parent,

Custody ofEquality(which Utah Statutes state) & with time with His Children.

                                         By In re Sanders

(By In re Sanders, 852 NW 2d 524 - Mich: Supreme Court 2014, 852 N.W.2d

524 (2014), 495 Mi.ch. 394 In re SANDERS. Docket No. 146680. Calendar No. 6.

Argued November 7, 2013. Decided June 2, 2014. Supreme Court of Michigan.

This Case (In re SANDERS) answers the Fit Parent part of the Judgment.) Summary of this case

is (any/all fit parent/shave (Custody) Rights to Their Children.)

   By The State of Utah not allowed immunity while Committing Fraud and Child Abuse

Child Abuse by way of not allowing My Children not to be with their Fit-Parent & Father. Utah

is not the Father. The lawyers are not the Father of My Children & ate not a Fit-Parent/s of my

Children. The judge Marvin Bagley is not the Father of My Children. The State of Utah is not the
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Father of My Children. And none of you the Father of My Children. Moreover, none of you is

God. And it makes no sense to Order Any Time of Custody Orders based on no Real Evidence

during the Temporary orders Perpetrated and Put-On by Jared Peterson, Scott Charlier, and

Marvin Bagley, The temporary orders were signed on January 11, 2017, but the temporary orders

were not signed by Sean Julander and Sean Julander Objected as soon as Sean Julander could

and within 1 year. Then if anyone wants a Real Court battle, I can issue and Sanction that the

three can be barred and the State of Utah can be barred based on Child Abuse, while Committing

Fraud. Is the State of Utah not a Co-Habitant to Sean Julander? It is arguable, but more

importantly, does the State of Utah think it can comm.it violations, fraud, illegal activities, etc.

with immunity? No, the State of Utah will be legally or lawfully sued by anyone that the State of

Utah comm.its against anyone, the State of Utah cannot comm.it violations or fraud or illegal

activities against anyone and then claim immunity. Especially when that anyone namely Sean

Julander "Pre-" Filed multiple Objections Complaints in attempt to have the State of Utah or

Judge Bagley Correct the violations or fraud against Sean Julander.

    By Injunctions & F'raud & Perjury & Violations that Lead to the Uamages & Harm

Utah or Judge Bagley is not a Fit-Entity to make reasonable and equality of Judgments of

Custody of my Children. While Keshia Poulson [Julander] comm.its Perjury and the State of

Utah or Judge Bagley knows this Fact of Keshia Poulson [Julander] comm.its Perjury and still

gives more Custody to the parent that comm.its Perjury and Keshia Poulson [Julander] committed

Perjury on the Important Matter of (where Sean Julander was located)/how much time Sean

Julander was [not] with the Children from 2012 to 2014, specifically Keshia Poulson [Julander]

comm.its Perjury stating that Sean Julander was supposedly gone for 6 to 9 months, each year,

including, 2012, 2013, & 2014, while Sean Julander was employment "working"; and that was
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another one of the many Lies by Keshia Poulson [Julander]. Sean Julander can PROVE the

FACT that Keshia Poulson [Julander] not only lied repeatedly & committed Perjury more than

once. One Perjury of which the State of Utah or Marvin Bagley knew about and actually

commented about the importance of the Matter Keshia lied in Court about the Matter, but never

addressing the Perjury itself, as part of the injunction by Keshia and then By the State of Utah &

Marvin Bagley as im agent of the State of Utah or is at least employed or receives monetary

profits from the State of Utah by some form of Contract, Marvin Bagley failed to state the Word

Perjury & actually helped the Pe~jurer Keshia Poulson [Julander] "win" the Custody Orders

illegally or unlawfully.

        By Keshia Poulson [Julander] does not Share My Children with their Father

                                  Before Court o.r After Court

Utah or Judge Bagley is not a Fit-Entity to make reasonable imd equality of Judgments of

Custody of my Children. While Keshia Poulson [Julander] does not Share My Children's Time

with their Father and the State of Utah or Judge Bagley knows this Fact of Keshia Poulson

[Julander] does not Share My Children's Time with their Father and still gives more Custody to

Keshia Poulson [Julander], is not Reasonable, and is not Common Sense, ~:md is illegal and or

tmlawful.

       By Sean's & My Children has more common sense [than ••• ] [.•. name names .. .'!]

  By "The United States of America" for U'rcedom, Security, Common. Sense, & Equality.

                                     By Punitive Damages &

SUPREME COURT; RUl-'ING SAYS STATE JUDGES MAY BI~ sui:D IN CIVIL

RIGHTS CASES
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"An injunction is an equitable remedy in the form of a court order that compels a party to do or

refrain from specific acts. A party that fails to comply with an injunction faces civil penalties,

including possible monetary sanctions. They can also be charged with contempt of court."

The injunction that Judge Bagley should have been remedied is Fraud upon the Court and/or an

equitable remedy (Equal Judgment Order) and/or the 14th Bill of Right of Sean Julander & his

Children. The 14th Amendment to the U.S. Constitution is equal protection under the law/s

(FRCP Rule 60), and the rights of Sean Julander.

The State of Utah and/or Marvin Bagley failed to remedy an injunction, which Marvin Bagley

should have Corrected the Injunction-ous Temporary Order. Sean Julander sought & pursued &

filed & Motioned & Compelled the 6th District Court of Utah or Judge Bagley to remedy the

injunction. Sean Julander sought & pursued & filed & Motioned & Compelled the 6th District

Court of Utah or Judge Bagley by filing 3 separate Motions objecting to the injunction ordered

illegally or unlawfully or unequal judgment used, Ordered by Marvin Bagley and/or Ordered by

the State of Utah.

The Justice of Department said that Congress has the authority to make laws goveming

(including Rule 60, the 14th Bill of Right, etc.) & that the Utah Legislature (Utah claims ofmles

about the topic of fraud upon the Court[Utah Laws of 14 or up to 90/92 day - "time limits"])

Utah Legislature does not have the power to overturn or supersede Federal laws or mles;

especially when a United States of American, states that he, Sean Julander invoked all of the

Federal laws & Bill of Rights & Sean Julander agrees with the Federal Law(Rule 60 is l year)

and is pursuant to the Federal Law being enforced. Sean Julander does not agree with & objects

to the Utah Legislatures Rules (Utah's "Rule 60" Fraud upon the Court gives only 3 Months or
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14 Days or 30 Days to Object based on Fraud upon the Court) although, the Utah Legislature or

the State of Utah Statutes does not have the power to overtum or supersede Federal Law.

And then [Utah or whoever has the most money to pay a lawyer], Utah's "Rule 60" changes to

'whatever is less time in one case, and then "the less time" gets completely ignored in another

case and then changes to 3 Months/whatever is a longer period of time in a different case, [but

always in favor of the "Mothers-Side"] and not in favor of the Children and not in favor of the

(Real Government of the United Stated of America, aka "Yours"/["Yours"], the Peoples

Equality, Freedom, & Security and justice for All. All being whoever is Con·ect, Right, Truthful,

Actual, Factual, Real, Provable, Fact Fow1d, etc.)).

FRCP Rule 60. Relief from a Judgment or Order

(b )(3), (b )(4), (b )(6) & ( c)( 1), ( c)(2),( c)(3)

(4) The judgment is void;( Although the Judgment Enforced); although the Richfield City Police

Dept. told & do & have; they have to enforce whatever (the Temp. Orders Ordered) Judge

Bagley has Ordered. So, does Sean Julander have to Sue the RCPD & USDA(Food Stamps

Section) & the State of Utah, & Utah [ill]Legal Services L.L.C.(Sandy Ness who was "let go" or

"does not work for Utah [ill]Legal anymore, probably cause of what she did [not] do ... in my

case"), & Scott Charlier(my former Lawyer), & Keshia Poulson [Julander], & The D.A. Larsen

Sevier County; & a few more I will not include at this time & [if needed the Federal

Government] & [if needed the Governor of Utah] & [if needed the DOJ] & [if needed Congress],

because the ones out ofbrackcts[88][33]; Sean Julander has evidence in support & if this case is

[unsuccess]ful then Sean Julander will be forced to hire a company to dig & find the evidence

(evidence that refers to the entities(USDA "Utah Work Services", RCPD) mentioned above)

from his laptop & Sean Julander will find this evidence & then we can go to Court again, with
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the new evidence, I believe I can find this evidence, & I will pay a company to dig it out of the

hard drive.

Suit Used 1871 Rights Act

The suit against the Virginia magistrate was brought under the Civil Rights Act of 1871, one of

the most widely used Federal civil rights laws. Usually referred to as Section 1983, this law

permits suits for damages or injunctive relief against those who, "under color of state law" violate

an individual's civil rights.

          In his opinion, Justice Blackmun reviewed the history of judicial immunity in
          English common law, from which the American immunity doctrine is derived.
          He concluded that because English judges were subject to certain common-law
          writs much like modern- day iajunctions, there was no historical basis for
          extending judicial immunity to injunctive suits.

          Justice Blackmun also said there was no evidence that Congress meant to
          exclude judges from injunctions under Section 1983.
          His opinion, Pulliam v. Allen, No. 82- 1432, was joined by A'5sociate ~Justices
          William ,J. Brennan Jr., Byron R. White, Thurgood Marshall & John Paul
          Stevens.

          In his dissenting opinion, Justice Powell said the majority opinion "in effect
          eviscerates the doctrine of judicial immunity." Subjecting judges to "the ever-
          present threat of burdensome litigation," he said, threatened judicial
          independence. Chief Justice Warren E. Burger & Associate Justices William H.
          Rehnquist & Sandra Day O'Connor joined the dissent.

The injunction is an equitable remedy, that is, a remedy that of equity. (The doctrine that reflects

this is the requirement that an injunction can be given only when there is "no adequate remedy at

law.") Injunctions are intended to make whole again someone whose rights have been violated.

When deciding whether to give an injunction, & deciding what its scope should be, courts give

special attention to questions of fairness & good faith. One manifestation of this is that

injunctions are subject to equitable complaints or defenses, such as laches & m1dean hands.

         Sean Julander wish.es to make sure Sean Julander Defines Perjury Correctly
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Perjmy is committed by anyone that Lies under Comt oath, on any Topics that are Important

Matters to the Case & Case Judgment, in favor of their own "side" of the Comt Case with that

intention of knowing that they in Fact are Lying about the important matter, and know that the

[fact]/lie(/s) they are telling are not True, and then the Lie becomes Fraud upon the Comt(if that

Anyone does not dming that hearing strike their Lies(/s) before the Judgment in that Hearing is

Judged and then Ordered.

18 U.S. Code§ 1621 - Perjury

((1) having taken an oath before a competent tribunal, officer, or person, in any case in which a

law of the United States authorizes an oath to be administered, that he will testify, declare,

depose, or certify trnly, or that any written testimony, declaration, deposition, or certificate by

him subscribed, is true, willfully and contrary to such oath states or subscribes any material

matter which he does not believe to be true; or

(2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted

under section 1746 oftitle 28, United States Code, willfully subscribes as true any material

matter which he does not believe to be trne; is guilty of perjmy and shall, except as otherwise

expressly provided by law, be fined under this title or imprisoned not more thm1 five years, or

both. This section is applicable whether the statement or subscription is made within or without

the United States.)

The "equal protection" clause within Sec. 1 of the 14th Amendment says: No State shall

" ... deny to any person within its jmisdiction the equal protection of the laws.''

[Supreme Court Rule 10 provides guidance on the sort of issues that make a case "cert. worthy."

As a general matter, the justices look for cases that involve significant federal questions. With

rare exceptions, the Court is slow to take on major legal issues and instead waits for issues to
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percolate in the lower federal and state courts. Cases with any of these features may have a better

chance of being granted review:]

    [A lower court holds a federal law unconstitutional,.[2] ]

    [A federal law creates an issue that is likely to repeat itself,Ql]

    [There is disagreement among the federal appellate or state courts (referred to as a "circuit

    split"),ffi ]

     [A lower court decides a case in a way that conflicts with the Supreme Comi's previous

    cases.ill]

        See https://www.heritage.org/courts/report/supreme-court-l 0 I-primer-non-lawyers

":Family Relationships.- Starting with Meyer and Pierce,691 the Court has held that "the

Constitution protects the sanctity of the fan1ily precisely because the institution of the family is

deeply rooted in this Nation's history and tradition." 692 For instance, the right to 688 The Court

reserved this question in Carey, 431 U.S. at 694 n.17 (plurality opinion), although Justices

White, Powell, and Stevens in concurrence seemed to see no barrier to state prohibition of sexual

relations by minors. Id. at 702, 703, 712. 689 Roe v. Wade, 410 U.S. 113, 152 (1973). The

language is quoted in full in Carey, 431 U.S. at 684-85. 690 In the same Term the Court

significantly restricted its equal protection doctrine of "fundamental" interests-"compelling"

interest justification by holding that the "key" to discovering whether an interest or a relationship

is a "fundamental" one is not its social significance but is whether it is "explicitly or implicitly

guaranteed by the Constitution." San Antonio School Dist. v. Rodriguez, 41 l U.S. 1, 33-34

(1973). That this limitation has not been honored with respect to equal protection analysis or due

process analysis can be easily discemed. Compare Zablocki v. Redhail, 434 U.S. 374 (1978)

(opinion of Court), with id. at 391 (Justice Stewart concurring), and id. at 396 (Justice Powell
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concurring). 691 Meyer v. Nebraska, 262 U.S. 390 (1923); Pierce v. Society of Sisters, 268 U.S.

510 (1928). 692 Moore v. City of East Cleveland, 431U.S.494, 503 (1977) (plurality). Unlike

the liberty interest in property, which derives from early statutory law, these liberties spring

instead from natural law traditions, as they are "intrinsic human rights." Smith v. Organization of

Foster Families, 431 U.S. 816, 845 (1977). These rights, however, do not extend to all close

relationships. Bowers v. Hardwick, 478 U.S. 186 (1986) (same sex relationships).

AMENDMENT 14-RIGHTS GUARANTEED 1961 marry is a fundamental right protected by

the Due Process Clause,693 and only "reasonable regulations" of marriage may be imposed.694

Thus, the Court has held that a state may not deny the right to marry to someone who has failed

to meet a child support obligation, as the state already has numerous other means for exacting

compliance with support obligations.695 In fact, any regulation that affects the ability to fonn,

maintain, dissolve, or resolve conflicts within a family is subject to rigorous judicial scrutiny.''

"PROCEDURAL DUE PROCESS: CIVIL Generally Due process requires that the procedures

by which laws are applied must be evenhanded, so that individuals are not suQjected to the

arbitTary exercise of government power. 73 7 Exactly what procedures are needed to satisfy due

process, however, will vary depending on the circumstances and subject matter involved.738 A

basic threshold issue respecting whether due process is satisfied is whether the government

conduct being examined is a part of a criminal or civil proceeding. 739... . . .In civil contexts,

however, a balancing test is used that evaluates the government's chosen procedure with respect

to the private interest affocted, the risk of erroneous deprivation of that interest under the chosen

procedure, and the govemment interest at stake. 741"

See SENATE 112th Congress 2nd Session, No. 112-9, THE CONSTITUTION of the UNITED

STATES OF AMERICA ANALYSIS
-----·-·-------·---·----·------- ..--_............._____________________
                                                      AND INTERPRETATION _______ __,,_,,,_, Centem1ial Edition,
                                                                     ,,,_,,_,,,   ,
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JNTERIM EO.ITIQN_;__AN_AL YSlS. OF C.ASEs_.DEC~JDED :a_y THE SUPREME COURT QE

THE UNITED STATES TO AUGUST 26, 2017.

1)     Before Utah was allowed to become a state of the constitutional Republic of the United

States of America, the individual a.k.a. the "state of Utah government" (not yet state at that exact

moment), agreed to be possibly sued, without younger doctrine hrummity or immunity, when the

state of Utah, or its public voted officials, or its employees contracted by vote; When the state of

Utah or Utah State infringes or trespasses any individuals Bill of Rights.

2)     The statement in number one, #1 is/are called fact/s, and they are not arguable, left or

right up or down sideways forward or sideways. Facts are non-arguable.

3)     Sean Julander lives in Utah, and is Utah within the United States of America the

Constitutional Republic.

4)      The Founding Fathers of the United States of America, ever say the Tenn Democracy as

in; " .. .I pledge allegiance to the United States of America and to the [Democracy]", no it is the

Republic. " ... Sean Julander pledges allegiance to the United States of America and to the

Constitutional Republic ... "

5)      Sean Julander Sue the State of Utah for Child Abuse, if needed as well.

6)      Sean Julander does not need to ask "Permission" from the State of Utah, to have 50%

Custody of his Children, it is already a Utah "law". It is not being enforced with equality.

7)      The State of Utah is not qualifying as a better parent to My Children. Sean Julander is

obviously more fit to Enforce the Law than the State of Utah.

8)      The State of Utah is Committing Child Abuse and should be prosecuted.

9)      The federal Court (government), can override any state that trespasses an [The]

American's Bill of Rights & 14th Amendment Right.
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10)     The younger doctrine defense cannot be allowed, as a reasonable [/etc.-word/etc.]

defense. "The Younger Doctrine" defense can not be allowed, as a reasonable defense, in any

Case, while/during, any case that the state trespasses any United States Americans civil rights, in

a civil case, you know his civil rights, in a civil case. The younger doctrine cannot be used as

defense.

11)     Civil Rights be used, enforced, invoked, and enforced still, in a civil case.

12)     No Judge beyond (or above the law or more powerful or greater than) the Bill of Rights.

13)     No one is [whether he or she is for my team or yours, as I an1 on your side].

14)     The state of Utah or Judge Bagley or both, trespass/ed Sean Julanders' civil rights, in a

civil case.

15)     The Defenses claimed by the Defendant in this Case is unallowable [ridiculous because

we all know the truth].

16)     Sean Julander in fact the father of [the] My children.

17)     Sean Julander has many God-given Rights a.k.a. Un-[a]Lien-Able, meaning the State of

Utah or Defandant cannot put a lien on my rights to my children, without Reasonable Reasons.

Yes, Sean Julander having 50% of the FULL CUSTODY of HIS CHILDREN a God-given right.

18)     It is a nature-given Right Sean Julander tab custody of his children. Sean Julander having

50% of the FULL CUSTODY of HIS CHILDREN a nature-given right.

19)     Sean "fight" this until "forever" or at least until his children get at least 50% of what it

his children deserve. And the Releif that Plaintiff seeks in this Case.

20)     Sean Julander "saddened" by these absurd defenses, put forth by a Utah State/State of

Utah's/"federal." defense lawyer/s. Sean Julander saddened by these absurd defenses.
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21)       Sean Julander actually asking for up to and including 10% of $3 million for Relief by

way of Punitive (Damages) Releif. People/Entity that infringe on other people's rights civil. We

all know what real crimes include, the injunctions, harms & or damages caused by and entity or

individual/s.

22)       Punitive (Damages) Releifis also a [type of] punishment to the State of Utah. Utah and

the other 49+ states, need to stop Un-equality of Custody. Equality. Freedom. Security.

23)       The Defendant said in the Custody Orders Hearing, Sean Julander Plaintiff":find that

both Parents are Fit-Parents". I am a good parent, with parenting skills as I have taken Family

Relations & Parenting Courses from Snow College an accredited College.



24)       Me children need/"need" both parents in their life, half-and-half 50-50 with equality.

25)       No one or entity, not even a judge, is able to know the best interest of my children in

eight hours, or less, in a combative court environment.

26)       The federal Court can override a state/or state employee contractor that infringes or

trespasses any United States of Americans civil rights, even in a divorce case.

27)       Yes, the federal government must protect any United States of American/s. The younger

doctrine defense ca1mot be allowed, as a reasonable [/etc.-word/etc.] defense.

No the younger doctrine does not/ must not/ and wlll not help trespass "over" someone's or

anyone's civil rights. As is, this is, against the law.

28)       the Bill of Rights came before the State of Utah or any of its employees. The Bill of

Rights.

29)       ((So the younger doctrine is not older than the older doctrine & it does not supersed

Federal laws that do not allow it. The younger doctrine cannot be used as a claimable defense by
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any defendant/s, this is known as; against the Older Federal Upstanding Law, and a.k.a. it is

against the superseding federal law.))

30)    The federal law, which includes the Bill of Rights, supersedes any conflicting Utah State

"law". Federal law supersedes any conflicting Utah State law.

((any conflicting override/supersede/came-before (was made before)/trumps, and supersedes any

Utah State law, that has a conflict (with any federal law a.k.a. the Bill of Rights). In addition, that

law still stands today, 2018.)) [/(override/supersede come-before (was made before)/trumps)

Utah State law?]

31)    The Bill of Rights supersedes any Utah State law, that conflict/s.

((With any federal law a.k.a. the Bill of Rights)).

32)     The State/Judge/employee/voted-in employee/etc.-Employee, cm.mot be allowed

immunity to trespassing anyone is Civil Rights, Bill of Rights, in any Civil Case. Not even a

Supreme Court Judge.

33)     It is Negligence and/or gross negligence or which lot term would be used, to describe;

when any State/Judge/employee/voted-in employee/etc.-Employee, [be allowed immunity] is in

fact trespassing anyone's Civil. Rights, Bill of Rights, in any Civil Case. Negligence and/or gross

negligence is not allowed to claim immunity.

34)     Anyone can in Fact, sit ([conn]tempt attempt to "stand") and say a bunch of so~called

laws that came after, [(meaning they can override)] the Bill of Rights. Although Any Time those

so-called laws infringe on any United States of Americans' Bill of Rights it is not allowed.

35)     The state /whoever /any single (or Majority aka democracy)/ entity &/or individual etc.

Attempting to supersede any persons' Bill of Rights is not Immunity-z-able. (Remember the Bill

of Rights is a Federal Law ru.1d is/was Enforced, before Utah was ever even a State, which
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[probably] includes any [people] Contractors being hired under the state of Utah as an employee,

aka a Contractor in fact contracted or voted in by anyone in the state of Utah. [This is not a

people, this is called tyranny, and if you want that go Join con kung foo - Jeong Jong ill in North

Korea] him/her still today, cause there isn't no doubt federal law was made before Utah ever

breathed a breath.

36)       Fact and truth and rightly called negligence(gross or regular, it is against the Law, The

Bill of Rights and no one is more powerful, not even a Supreme Court Judge, Not even Trump, is

more powerful, than the Bill of Rights As it stands, " ... and they can't take that away"). Whether

it is gross or regular negligence. And there's no other law that overrides the first nine

[Period].[Space-Bar] Sean Julander is/must not play [bs] word gam.es with anybody[here or

there],

37)       Although Any Time those so-called laws infringe on any [legal]/legal United States of

Americans' (as in the/any person/ the human being,) it is called negligence whether it be gross or

regular negligence. And there is no other law that overrides the first nine [Period]. [Space-Bar]

Sean Julander is/must not play [bs] word games with anybody [here or there],

38)       Which came first the state of Utah hiring a contractor specifically judge Bagley or the

Bill of Rights? The Bill of Rights.

39)       Does federal law override/supersede/come-before (was made hefore)/trumps Utah State

law? Yes, Federal law (aka The Bill of Rights) override/supersede/come-before (was made

before)/trumps, and in fact must be enforced over every single [(or doubled)] Utah State law.

This case federal Law-Being [lobbying] the Bill of Rights, in this case Sean's Bill of Rights

overrides supersedes came before and is/was Present and intact, enforced, and will be enforced

and must be enforced. [or you your self will in fact be more becoming to contract your selves out
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of, well you claim that you are doing the correct business](Other[un]wise you your self will in

fact be more becoming to contract your selves out of Busy-Ness, well you claim that you are

doing the correct business).



Isl Sean Julander
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                      CERTIJHCATJ~      OF SERVICE/MAILING/J)l~LIVERY


That on, 30th day of May 2018, I, said Plaintiff, Sean Julander, Filed & Legally Serve or
Deliver, by Hand Delivery a true and accurate copy of the MOTION TO OBJECT TO
DEFENDANT'S (MOTION TO DISMISS)
Case No. 2:17-cv-01315-BSJ
Judge Ilruce S. Jenkins

, to:

Defendant, MARVIN BAGLEY
       Desk to:
KYLE J. KAISER (13924) Assistant Utah Attorney General SEAN D. REYES (7969) Utah
Attorney General
160 East 300 South, Sixth Floor P.O. Box 140856
Salt Lake City, Utah 84.114-0856 Telephone: (801) 366-0100 Facsimile: (801) 366-0101 E-mail:
kkaiser@agutah.gov Attorneys for Defendant
Document Mailed: MOTION TO OB.JECT TO nEFENDANT'S (MO'J.'ION TO DISMISS)

That on, 30th day of May 2018, I, said Plaintiff, Sean Julander, Filed & Legally Serve or
Deliver, by, Certified Mail, TWO COPIES, true and accurate copyls of the MOTION TO
OBJECT TO DEFENDANT'S (MOTION TO DISMISS)
, to:

US District Court
District of Utah
351 So. West Temple, Room 1.100
Salt Lake City, UT 84101

DoClunent Delivered: CIVIL RIGHTS COMPLAINT (AMENDED) (42 U.S.C §1983)
& OBJECTION TO DEFENDANTS MOTION TO DISMISS


Dated this 30th day of May 2018          Sign here: Isl Sean Julander
                                                          Sean Julander

Plaintiff Sean Julander
Pro Per, Plaintiff
358 North 200 East
Richfield, Utah 84701
Telephone: 435-705-5054
Email: mrmagicrobot@gmail.com
